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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION at LEXINGTON


CRIMINAL ACTION NO. 5:07-41-2-KSF


UNITED STATES OF AMERICA                                                                PLAINTIFF


vs.                                   OPINION AND ORDER


ERICK TYRONE BROOKS                                                                  DEFENDANT


         This matter is before the Court on the motion of Defendant Erick Tyrone Brooks for

modification of his sentence pursuant to 18 U.S.C. § 3582(c)(2) and the retroactive crack cocaine

amendments to the Federal Sentencing Guidelines. The United States objects to the motion on

the ground that Brooks was sentenced pursuant to a mandatory minimum sentence of 120 months

and, therefore, is not eligible for a reduced sentence under 18 U.S.C. § 3582(c)(2).

I.       BACKGROUND

         On May 14, 2007, Brooks entered a plea of guilty to conspiracy to possess with intent to

distribute and to distribute 50 grams or more of cocaine base. Following an adjustment for

acceptance of responsibility, Brook’s Total Offense Level was 28. Combined with his criminal

history category of IV, the Guideline range for imprisonment was 110 to 137 months. However,

Brooks was subject to a mandatory minimum sentence of 10 years (120 months) pursuant to 21

U.S.C. § 841(b)(1(A). On August 17, 2007, Brooks was sentenced to a term of imprisonment of

120 months.

II.      ANALYSIS

         “Federal courts are courts of limited jurisdiction. They possess only that power authorized

by Constitution and statute, ... which is not to be expanded by judicial decree.” Kokkonen v.

Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994). “The authority to modify a sentence
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already commenced must be granted to the court by statute, and such modification is limited to the

authority granted by the statute.” United States v. Addonizio, 442 U.S. 178, 189 n. 16 (1979).

       In this case, the relevant statute is 18 U.S.C. § 3582(c), which provides in part:

       The court may not modify a term of imprisonment once it has been imposed except
       that –
       ...
       (2) in the case of a defendant who has been sentenced to a term of imprisonment
       based on a sentencing range that has subsequently been lowered by the
       Sentencing Commission pursuant to 28 U.S.C. 994(o), ... the court may reduce the
       term of imprisonment ... if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.

The recently revised policy statement in U.S.S.G. § 1B1.10 provides in part:

       (2) Exclusions. – A reduction in the defendant’s term of imprisonment is not
       consistent with this policy statement and therefore is not authorized under 18 U.S.C.
       § 3582(c)(2) if –
       ...
       (B) an amendment listed in subsection (b) does not have the effect of lowering the
       defendant’s applicable guideline range.

U.S.S.G. § 1B1.10(a) (effective on March 3, 2008, by Amendment 712). Application note 1(A) to

this Guideline states that a reduction under § 3582(c)(2) is not authorized where “the amendment

... is applicable to the defendant but the amendment does not have the effect of lowering the

defendant’s applicable guideline range because of the operation of another guideline or statutory

provision (e.g., a statutory mandatory minimum term of imprisonment).” U.S.S.G. § 1B1.10,

comment, n. 1(A).

       The situation in the present case was expressly contemplated in the Application Note.

While the crack cocaine amendment would reduce Defendant’s maximum term of imprisonment

to 125 months, his guideline range is not lowered because of the operation of a statutory

mandatory minimum term of imprisonment. No reduction in Brook’s sentence is authorized under

18 U.S.C. § 3582(c). Instead, any reduction would conflict with the applicable policy statement and

with the Congressionally mandated minimum sentence. Courts do not have discretion to reduce

a mandatory minimum sentence. Unites States v. Franklin, 499 F.3d 578, 586 (6th Cir. 2007).



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         The effect of a mandatory minimum sentence on a proposed reduction pursuant to 18

U.S.C. § 3582(c)(2) is not unlike the effect of a sentence as a career criminal. The guideline range

is not reduced; thus, the court is without authority to reduce the sentence. See United States v.

Moore, 541 F.3d 1323 (11th Cir. 2008); United States v. Clark, 2008 WL 4510440 (E.D. Tenn.

2008).

         Having considered the record herein, the Court finds that the amendment to the crack

cocaine guideline does not lower Defendant Brooks’ applicable guideline range. Accordingly, he

is not eligible for a sentence reduction, and this Court has no authority to grant such a reduction.

CONCLUSION

         IT IS ORDERED that the Motion of Erick Tyrone Brooks for a sentence reduction [DE 81,

89] is DENIED.

         This October 27, 2008.




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